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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                             EASTERN DIVISION

Barry Gilfand, Aaron Gilfand,                  )
Adam Mastrucci and Scott Lowrance,             )
                                               )
                       Plaintiffs,             )
       v.                                      )       No: 07 C 2566
                                               )
Sgt. Jeffery Planey, et al.                    )       Judge Leinenweber
                                               )
                       Defendants.             )

                                      STIPULATION

        Defendants, City of Chicago, Lieutenant Dale Kingsley, Officer Frederick

Collins, Officer Nicole Mayoski, Officer Ana Pina, Officer Donald Lupo, (hereafter

“City defendants”) by their attorney, Stephen R. Patton, Corporation Counsel for the City

of Chicago, and Plaintiffs Aaron Gilfand, Barry Gilfand, Adam Mastrucci, and Scott

Lowrance, by their counsel, Smith Johnson & Antholt, LLC, hereby stipulate and agree

that the City defendants’ reply in support of their bill of costs shall be due on or before

October 5, 2012, and that the current due date of September 21, 2012 is stricken.



       CITY DEFENDANTS                                 PLAINTIFFS

By:    /s/ Jordan Marsh                        By:     /s/ Amanda Antholt
       JORDAN MARSH                                    AMANDA ANTHOLT



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